
USCA1 Opinion

	




                                [NOT FOR PUBLICATION]                                 ____________________        No. 94-1177                                 RUBEN RIVERA NEGRON,                                Plaintiff, Appellant,                                          v.                       SECRETARY OF HEALTH AND HUMAN SERVICES,                                 Defendant, Appellee.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                  [Hon. Carmen Consuelo Cerezo, U.S. District Judge]                                                ___________________                                 ____________________                                        Before                                Torruella, Chief Judge,                                           ___________                            Selya and Cyr, Circuit Judges.                                           ______________                                 ____________________            Raymond Rivera Esteves and Juan A.  Hernandez Rivera on brief  for            ______________________     _________________________        appellant.            Guillermo  Gil,  United  States  Attorney,  Maria  Hortensia  Rios            ______________                              ______________________        Gandara,  Assistant  United States  Attorney,  and  Nancy B.  Salafia,        _______                                             _________________        Assistant Regional  Counsel, Department of Health  and Human Services,        on brief for appellee.                                 ____________________                                   August 31, 1994                                 ____________________                      Per Curiam.    Claimant, Ruben Rivera-Negron,                       __________          challenges the denial of disability benefits.                       Mr.  Rivera-Negron  worked  in  various  laborer  and          carpentry jobs  for many years in Puerto  Rico and New York City.          He alleged an onset of disability  in November, 1990, due to  the          after effects of  an undisplaced fracture of  the big toe on  his          left  foot.  He maintained that because  of pain he was unable to          wear heavy  shoes  required on  construction sites  where he  had          previously worked.                        The Administrative  Law Judge (ALJ)  found that  "the          claimant did not have an impairment or combination of impairments          which  . . . significantly  limited his ability  to perform basic          work-related  activities."   The ALJ,  therefore, terminated  the          review process at Step 2, or the severity stage, of the five-step          sequential inquiry.  See  Bowen v. Yuckert, 482 U.S.  137 (1987).                               ___  ________________          The  decision of  the  ALJ  became  the  final  decision  of  the          Secretary when  the Appeals  Council denied review.  The claimant          appealed to  the district court,  which affirmed the  decision of          the Secretary.  We also affirm.                        The  claimant  challenges  the ALJ's  finding  of  no          severe impairment. In  essence, the claimant argues  that the ALJ          erred  in  his  application  of  the  threshold  test  of medical          severity which was enunciated in  McDonald v. Secretary of Health                                            _______________________________          and Human  Services, 795 F.2d 1118 (1st Cir. 1986).  In McDonald,          ___________________                                     _________          this  court held that the Step 2  severity test is justified as a                                         -2-          de  minimis  screening  policy  and  that the  Secretary  is  not          precluded from implementing a  threshold test of medical severity          to screen out  claims that  would clearly be  disallowed even  if          vocational factors  were considered. Id. at 1121-1126.   See also                                               __                  ___ ____          Bowen v. Yuckert, 482 U.S. 137 (1987).          ________________                      The  State Insurance  Fund  concluded   claimant  had          suffered   a  "[l]oss  of  50%   of  the  GPF  [general  physical          functioning]  due to a  loss of the  large toe in  the left foot-          secondary articulation."  However, an examination  several months          later  in July 1991 found no remaining abnormality in the toe, no          redness or swelling,  and full range of motion.   Notwithstanding          claimant's  complaints  of  cramps,  pain  and  an  inability  to          tolerate  heavy  shoes or  work  boots, the  doctor  concluded no          treatment  was merited.     The ALJ  found claimant  unpersuasive          regarding his inability to  wear heavy shoes, and gave  weight to          the  medical evidence indicating no loss of motion or other signs          of abnormality  in the toe.   In  view of the  July 1991  medical          reports  and  claimant's  sparse  treatment  history,  the  ALJ's          findings are justified and adequately supported by the record.                      For  the  foregoing  reasons,  we   find  substantial          evidence  to  support  the  Secretary's  determination  that  the          claimant  does   not  have  any  impairment   or  combination  of          impairments which  significantly  limits his  ability to  perform          basic  work-related  activities.   We  conclude  that review  was          appropriately terminated at the  Step 2 severity level.   We have                                         -3-          considered  all of claimant's arguments and have found them to be          without merit.                      Affirmed.  See 1st Cir. R. 27.1.                      ________   ___                                         -4-

